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 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                                  FOR THE DISTRICT OF NEVADA
 8
     DAVID TURPIN,                                      Case No. 2:19-CV-01103-JAD-NJK
 9
                           Plaintiff,
10
     v.                                                 STIPULATION AND ORDER OF
11 EQUIFAX INFORMATION                                  DISMISSAL WITH PREJUDICE AS TO
                                                        DEFENDANT TRANS UNION, LLC
12 SERVICES
     LLC, TRANS UNION LLC, and
13 XCEED FINANCIAL CREDIT                                            ECF No. 54
14 UNION,

15                          Defendants.

16           Plaintiff David Turpin, and Defendant Trans Union LLC file this Stipulation of Dismissal

17 with Prejudice and in support thereof would respectfully show the court as follows:

18           There are no longer any issues in this matter between David Turpin and Trans Union LLC

19 to be determined by this Court. Plaintiff and Trans Union LLC hereby stipulate that all claims and

20 causes of action that were or could have been asserted against Trans Union LLC are hereby

21 dismissed with prejudice, with court costs and attorneys’ fees to be paid by the party incurring

22 same.

23 Dated this 8th day of July 2020.

24
   /s/ Jennifer Bergh                              /s/ Matthew I. Knepper
25 Jennifer Bergh                                  Matthew I. Knepper, Nevada Bar No. 12796
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 8
                                              IT IS SO ORDERED
 9
10

11                                           HONORABLE JENNIFER A. DORSEY
                                             UNITED STATE DISTRICT JUDGE
                                           ORDER
12

13         Based on the stipulation [ECF No. 54] between plaintiff and last-remaining defendant
     Trans Union, LLC, and good cause appearing, IT IS HEREBY ORDERED that THIS ACTION
14   IS DISMISSED with prejudice, each side to bear its own fees and costs. The Clerk of Court
     is directed to CLOSE THIS CASE.
15

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17                                                   _______________________________
                                                     U.S. District Judge Jennifer A. Dorsey
18                                                   Dated: July 9, 2020
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